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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KHAJA M. M. KHADER,                              )
                                                 )
                        Plaintiff,               )
                                                 )       Case No. 21-cv-04632
                                                 )
                v.                               )
                                                 )       Judge Sharon Johnson Coleman
SAMSUNG ELECTRONICS AMERICA,                     )
INC., et al.,                                    )
                                                 )
                        Defendant.               )

                          MEMORANDUM OPINION AND ORDER

        Plaintiff Khaja M. M. Khader (“Plaintiff”) brings his complaint for strict product liability and

negligence against Defendants Samsung Electronics America, Inc. (“SEA”) and Microsoft

Corporation (“Microsoft”) (collectively “Defendants”). In his complaint, Plaintiff alleges that he

suffered a seizure after using a Samsung HMD Odyssey+ virtual reality headset equipped with

Microsoft’s Windows Mixed Reality operating system platform due to a design defect in the product.

Defendants each filed a motion for summary judgment pursuant to Federal Rule of Civil Procedure

56(a). For the following reasons, the Court grants Defendants’ motions.

Background

        Before establishing the facts as set forth by the parties, the Court notes that Plaintiff failed to

provide a response to either Microsoft’s or SEA’s Local Rule 56.1 Statement of Facts. (Dkt. 160.)

This is the case even though both parties instructed Plaintiff on how to respond to their respective

motions for summary judgment in accordance with Local Rule 56.2. (Dkt. 155, 159.) “When a party

fails to comply with the local rule requiring a response to a statement of undisputed material facts, the

court may rely on the opposing party’s statement to the extent that it is supported by citations to

relevant evidence in the record.” FTC v. Bay Area Business Council, Inc., 423 F.3d 627, 634 (7th Cir.2005).
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It does not matter whether the party is pro se; the party still must comply. Coleman v. Goodwill Indus. of

Southeastern Wis., Inc., 423 Fed. Appx. 642, 643 (7th Cir. 2011) (“Though courts are solicitous of pro

se litigants, they may nonetheless require strict compliance with local rules.”). Because Plaintiff failed

to file a response to either Microsoft’s or SEA’s Local Rule 56.1 statement of facts, the Court credits

Defendants’ uncontroverted version of the facts to the extent that it is supported by evidence in the

record. (Dkt. 153, 157.)

        On September 13, 2019, Plaintiff used a Samsung HMD Odyssey+ virtual reality headset

equipped with the Windows Mixed Reality operating system to play three virtual reality games. (Dkt.

153, ¶ 2.) The next day, while visiting the Lincoln Park Zoo in Chicago, IL, Plaintiff suffered a seizure.

(Id. at ¶ 1.) Microsoft did not develop, design, manufacture, sell or distribute the Samsung Odyssey+

virtual reality headset, Id. at ¶ 4, nor did it develop, design, manufacture, sell or distribute the video

games Plaintiff played. (Id. at ¶ 5–7.) While Samsung’s role as it relates to the virtual reality headset

was to bring the product to market in the United States, the manufacturer of the headset was a separate

entity, Samsung Electronics Co., Ltd. (Dkt. 157, ¶¶ 5–6.) By their own affidavits, at the time of the

incident, SEA had never received any information or had any knowledge that the headset caused

seizures, Id. at ¶ 7, nor had Microsoft received any report of a seizure occurring from use of the

headset. (Id. at ¶ 11.) ¶

        After Plaintiff filed his complaint on August 30, 2021, and after surviving two motions to

dismiss, the case proceeded to discovery. During discovery, Plaintiff testified and admitted that he

had no “technical” information about the design of the Samsung Odyssey+ virtual reality headset or

the Windows Mixed Reality operating system and that his claims were based solely on internet

searches. (Dkt. 153, ¶ 11–12.) Plaintiff also named no expert witness on the existence of a design

defect or negligent design, produced no medical evidence that he had been diagnosed with

photosensitive epilepsy, produced no medical evidence that any of the conditions he had been
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diagnosed with involve seizures triggered by visual stimuli, and produced no evidence indicating that

anything he saw while using the headset was capable of triggering an epileptic seizure or the seizure

he suffered the following day. (Id. at ¶¶ 16–19).

        Further, Plaintiff produced limited documents in discovery, primarily his medical records and

printouts from third-party websites. (Id. at ¶ 10.) None of the documents produced by Plaintiff

described a defect in the Windows Mixed Reality operating system; instead, the documents related to

other types of display systems, other manufacturers’ products, or visual quality issues unrelated to the

occurrence of seizures. (Id. at ¶ 15.) The only medical record which references Plaintiff’s use of the

headset is a note which documents Plaintiff’s own statements to his neurologist that were provided

weeks after the incident. (Id. at ¶ 27.) Plaintiff’s daughter, who is a dentist, also testified on his behalf,

though she is not a neurologist or an expert in epilepsy and was not offering a medical opinion on the

cause of Plaintiff’s seizure. (Dkt. 157, ¶¶ 21–23.)

        After the close of discovery, Defendants brought their respective motions for summary

judgment. The Court now turns to Defendants’ motions.

Legal Standard

        Summary judgment is appropriate “if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A

genuine dispute as to any material fact exists if “the evidence is such that a reasonable jury could return

a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505,

2510, 91 L. Ed. 2d 202 (1986). When determining whether a genuine dispute as to any material fact

exists, the Court must view the evidence and draw all reasonable inferences in favor of the nonmoving

party. Id. at 255; McDaniel v. Progress Rail Locomotive, Inc., 940 F.3d 360, 367 (7th Cir. 2019). The party

seeking summary judgment has the burden of establishing that there is no genuine dispute as to any

material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). After “a properly supported motion
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for summary judgment is made, the adverse party ‘must set forth specific facts showing that there is a

genuine issue for trial.’” Anderson, 477 U.S. at 255 (citation omitted).

Discussion

        Plaintiff presents two design defect claims against Defendants, one under strict product

liability and the other under negligence. Both suffer from the same fatal flaw: the lack of expert

testimony establishing that the Samsung HMD Odyssey+ virtual reality headset and the Windows

Mixed Reality operating system had a design defect that made the product “unreasonably dangerous”

or deviate from the standard of care followed by the industry.

        To succeed in a strict product liability claim based on a design defect, a plaintiff must establish:

(1) a condition of the product that results from manufacturing or design; (2) the condition made the

product unreasonably dangerous; (3) the condition existed at the time the product left the defendant's

control; (4) the plaintiff suffered an injury; and (5) the injury was proximately caused by the condition.

Salerno v. Innovative Surveillance Technology, Inc., 402 Ill. App. 3d 490, 498 (2010) (citing Mikolajczyk v. Ford

Motor Co., 231 Ill. 2d 516, 543, 901 N.E.2d 329, 327 Ill. Dec. 1 (2008)). The key inquiry in this

determination is whether the allegedly defective condition made the product “unreasonably

dangerous.” Id. Similarly, to succeed under a theory of negligence, a plaintiff must provide some

evidence that the manufacturer “(1) deviated from the standard of care that other manufacturers in

the industry followed at the time that the product was designed; or (2) knew or should have known,

in the exercise of ordinary care, that the product was unreasonably dangerous and that it failed to warn

of the product’s dangerous propensity.” Id. at 501 (citing Blue v. Environmental Engineering, Inc., 215 Ill.

2d 78, 96, 828 N.E.2d 1128, 293 Ill. Dec. 630 (2005)).

        For complex products, such as the virtual reality headset and operating system at issue here,

expert testimony is essential to determine whether the design of a product was unreasonably

dangerous or deviated from the standard of care. See Salerno, 402 Ill. App. 3d at 501 (“Because
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products liability actions involve specialized knowledge or expertise outside of a layman’s knowledge,

the plaintiff must provide expert testimony on the standard of care and a deviation from that standard

to establish either of these propositions.”). As such, the failure to provide such testimony “regarding

any alleged design defect or dangerousness is fatal” to a plaintiff’s claim at summary judgment.

Thornton v. M7 Aerospace LP, 796 F.3d 757, 773 (7th Cir. 2015); see also Kirk v. Clark Equip. Co., 991 F.3d

865 (7th Cir. 2021) (collecting cases).

        While Plaintiff states that at trial he will “provide the jury with expert testimony that can

explain how a virtual reality [device] triggers a seizure . . . and [the] long-term effects of using virtual

reality,” (Dkt. 160, ¶ 15), he has not provided any such testimony for consideration at summary

judgment. And by his own repeated admission, Plaintiff does not himself possess the expertise

necessary to evaluate the design of the virtual reality headset and operating system and instead relies

on information from the internet to support his claim. (Dkt. 153, Ex. A, pp. 141–43.) Just as “it is

not enough for a plaintiff to simply say that there was a better way to design the product without such

expert testimony,” it too is not enough for a plaintiff to simply say that a design defect exists in a

product without such expert testimony. Salerno, 402 Ill. App. 3d at 501 (citing Baltus v. Weaver Div. of

Kidde & Co., Inc., 199 Ill. App. 3d 821, 831, 145 Ill. Dec. 810, 557 N.E.2d 580 (1990)).

        Failing to provide expert testimony to support his design defect allegations is not the only fatal

flaw in Plaintiff’s strict product liability and negligence claims.       Plaintiff also fails to provide

evidence—including expert testimony—establishing that his use of the Samsung HMD Odyssey+

virtual reality headset and Windows Mixed Reality operating system caused his seizure. At summary

judgment, “[c]onclusory allegations by the party opposing the motion cannot defeat the motion.”

Hedberg v. Indiana Bell Tel. Co., 47 F.3d 928, 931 (7th Cir. 1995) (“Speculation does not create a genuine

issue of fact; instead, it creates a false issue, the demolition of which is a primary goal of summary

judgment.”). And in strict product liability or negligence cases, to survive summary judgment, “a
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plaintiff must point to relevant, outstanding factual issues that could show with reasonable certainty

that the product’s defect caused the injury.” Schuring v. Cottrell, Inc., 244 F. Supp. 3d 721, 735 (N.D.

Ill. 2017) (Kendall, J.).

        As with the question of the design defect, here, while Plaintiff asserts that the virtual reality

headset and operating system caused his seizure, he admits that he neither has expertise in assessing

the causes of seizures nor spoke with anyone with such expertise. (Dkt. 153, Ex. A, pp. 141–49.) The

news articles and research studies that Plaintiff provides speak to the potential dangers of virtual reality

devices and platforms generally, not to the products in question, and therefore are not relevant to the

case at hand. (Dkt. 160, Ex. 2–5.) And the only medical opinion and record Plaintiff provides are

from his daughter, who is not an expert in neurology or seizure disorders and would not testify at trial

as such, (Dkt. 157, Ex. D, pp. 15, 54–55), and an unauthenticated—and therefore inadmissible—note

from his doctor in which the doctor recounts what Plaintiff told him about the incident. (Dkt. 153,

Ex. A, pp. 81–84.) More evidence is necessary for Plaintiff’s claims to survive summary judgment;

none is provided.

        Plaintiff’s search for an explanation and desire to hold someone accountable for his

unexpected seizure and difficult recovery is understandable. But “even pro se litigants must follow

rules of civil procedure.” Cady v. Sheahan, 467 F.3d 1057, 1061 (7th Cir. 2006) (citing McNeil v. United

States, 508 U.S. 106, 113, 113 S. Ct. 1980, 124 L. Ed. 2d 21 (1993). As such, speculative and

unsupported allegations brought before federal court must be treated appropriately.

        For these reasons, Plaintiff’s claims fail and summary judgment is granted for Defendants.

Conclusion

        Because Plaintiff provides no expert testimony to support his claims of design defect under a

theory of strict product liability or negligence nor provides any expert testimony or admissible
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evidence that Defendants’ products caused his seizure, the Court grants Defendants’ motions for

summary judgment [152], [156].

IT IS SO ORDERED.

Date: 11/26/2024

                                           Entered: _____________________________
                                                    SHARON JOHNSON COLEMAN
                                                    United States District Judge
